PROB. 12

‘R"°m) Case 2:99-cr-20153-SHI\/| Document 70 Filed 07/06/05 Page 1 of l3 Pagel 59
UNITED STATES DISTRICT COURT
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WESTERN DISTRICT OF TENNESSEE _ M' \
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OF wl MEM

U.S.A. vs. Andrew Howell Docket No. 2:99CR20153-01

 

 

Petition on Probation and Supervised Release

COMES NOW DAWN L. BROWN , PROBATION OFFICER OF THE COURT presenting an
official report upon the conduct and attitude of Andrew Howell, who was placed on supervision by the
Honorable Samuel H. Mays, Jr. sitting in the Court at Memphis, TN , on the 30th day of September ,2004,
who fixed the period of supervision at fourteen § 141 months, and imposed the general terms and conditions
theretofore adopted by the Court.

 

l. The defendant shall submit to placement in the Synergy Drug Abuse Treatment Program as directed
by the Probation Officer.
2. The defendant shall make regular monthly payments towards the restitution obligation Payments are

to be not less than ten (10) percent of the defendant’s gross monthly income, as determined by the
Probation Office. The interest requirement is Waived.

* Effective Date of Supervision: October 22, 2003. (Supervised Release revoked on September 30, 2004.
Defendant given custody sentence of three (3) months, With re-irnposed fourteen (14) month term of
Supervised Release which began on November 19, 2004.)

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS FOLLOWS:
SEE ATTACHED

PRAYING THAT THE COURT WILL ORDER that Andrew Howell’S conditions of supervised release be

MODIFIED to include the Special Condition to participate in an intensive outpatient program and/or residential

drug treatment program to include drug testing as directed by the Probation Office in lieu of participation in the

Synergy Drug Abuse Treatment Program.

ORDER OF COURT

   

Conside d and orde d this§x\day

 

of , 201, and ordered filed Dawn L. Brown
and made a part f the records in the above United States Probation Ofiicer
case. /1 4 4
go Place: Memnhis. Tennessee
United States District Judge , Date: June 23. 2005

 

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Case 2:99-cr-20153-SH|\/| Document 70 Filed 07/06/05 Page 2 of 3 Page|D 60

RE: Aodrew Burton Howell
Docket No: 2:99CR20153-01
Page 2

As ordered by Your Honor at his sentencing, the Probation Oflice has attempted to place Mr. Howell into Synergy
Drug Abuse Program. However, this officer was advised by Daria Eliis of the Synergy Drug Abuse Treatment
Prograrn that Mr. Howell does not meet the requirements for admission based on his criminal record. In an effort
to address Mr. Howell’s drug treatment needs, Mr. Howell has been referred and accepted into the residential drug
treatment program at New Directions. ln light of Mr. Howell’s ineligibility to participate in the program at Synergy
as deemed by the Court, the Probation Oche would ask that Mr. Howell’s conditions be amended to substitute
intensive outpatient and/ or residential treatment at the direction of the Probation Office in lieu of his placement into
the Synergy program If Your Honor is in agreement with this recommendation the appropriate paperwork is
attached.

UNITD sTATES ISTRIC COURT - WETERN DISITRCT OF TENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 70 in
case 2:99-CR-20153 Was distributed by faX, mail, or direct printing on
July ll, 2005 to the parties listed.

 

 

Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

